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                        EXHIBIT Y
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                 Attorneys for Sheriff, Police Chief, and
           8     Chief Probati0n Intervenor-Defendants
      9
      10                                  IN THE UNITED STATES DISTRICT COURTS
      11                               FOR THE EASTERN DISTRICT OF CALIFORNIA
                         .


     12                              AND THE NORTHERN DISTRICT OF CALIFORNIA
     13                 UNITED STATESDISTRICT COURT COMPOSED OF THREE JUDGES
     14                   PURSUANT .TO SECTION 2284, TITLE 28 UNITED STATES                            "CODE
     15
                RALPH         COLEMAN, et al.,                   Case No: CIV S-90-0520 LKK JFM P
  16
                                 Plaintiffs,                     THREE-JUDGE COURT
 17
                        Vs.
  18
                ARNOLD         SCHWARZENEGGER, et
 19             al.,
 20                              Defendants.
 21
 22
                                                                 [F,R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 23             MARCIANO PLATA, et al.,                         CaseNo.:       C01-i351 TEH
                                                                THREEaJUDGE COURT
 24                              Plaintiffs,
25
                                                                1NTERVENOR-DEFENDANT.
                       VS.                                      HUMBOLDT COUNTY SHERIFF'S
                                                                RESPONSES TO PLAINTIFFS' FIRST
26              ARNOLD        SCHWARZENEGGER, et                SET OF INTERROGATORIES
27 al:•
                                Defendants.
28

                INTERVENOR-DI•FENDANT HUMBOLDT COUNTY SHERIFF'S RESPONSES
                                                                            TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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            PROPOUNDING PARTIES:                   Plaintiffsl MARCIANO PLATA, etal.
       2    RESPONDING PARTY:                      Intervenor-Defendant, HUMBOLDT COUNTY
       3                                           SHERIFF
      4    .SET NUMBER:                 .
                                                   One (1)
      5            TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
      6            Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant
      7    Humboldt County Sheriff separately and fully responds to Plaintiffs' First Set of
      8    Interrogatories as follows:
      9                          Preliminary Statement and General Obiections
  10                 1.    Intervenor-Defendant has not Completed investigation of the facts relating
           to this case, has not completed discovery in this action and has not completed preparation

  12       for trial. Therefore, these responses, while basedon diligent factual exploration, reflect
  13       only.IntervenorcDefendant's current state of knowledge, understanding, and belief with
  14       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  15       the right to supplement these responses with subsequently obtained or discovered
  16       information. With regard to each interrogatory, IntervenorcDefendant reserves the right,
 17        notwithstanding these answers and responses, to employ at trial or in any pretrial
 18        proceeding herein information subsequently obtained or discovered, information the
 19        materiatity of which is not•presently ascertained, or information Intervenor-Defendant
 20        does not regard as coming within the scope of the        interrogatories as Intervenor-Defendan
 21        understands them.
 22               2.      These responses are made solely for the purpose of this action. Each
 23        answeris subject to all. objections as to competence, relevance materiality, propriety,
 24        admissibility, privacy, privilege, and any and all other objections that would require
 25        exClusion.of any statement contained•herein if any.such interrogatories were asked ofi
                                                                                                   or
 26        any statement contained herein if any such interrogatories were asked of, or. any
 27        statement contained herein were made by, a witness present-anKEest_s•ing in court, all of
 28        which objections and grounds are reserved and may be interposed at the time of trial.

           INTERVENOR-DEFENDANT HUMB.OLDT COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1               Except for explicit facts admitted herein, no incidental or impiied.
                       3.
     2 admissions are intended hereby. Intervenor-Defendant's answers or objections to any
     3 interrogatory are not an admission of any fact setforth or- assumed.by that interrogatory.
     4 In addition, eachof Intervenor-Defendant's-answers to an interrogatory or part of any
     5 interrogatory is not a waiver of part or all of any objection he might make to that
     6 interrogatory, or an admission that such answer or objection constitutes admissible
     7. .evidence. Intervenor-Defendant asserts these objections without waiving or intending to
     8 waive any objections as to competency, relevancy, materiality or privilege.
    9            4.   Tothe extent Intervenor-Defendant responds to these interrogatories, the
  10 responses.will not include information protected by the right of privacy. All objections
  11 on the grounds of constitutional and common law privacy rights are expressly preserved.
  12            5.     Intervenor-Defendant objects to each and every Interrogatory to the extent
  13 that Plaintiffs are requesting information that is neither relevant to the subject matter of
  14 this action nor reasonably calculated to lead to the discovery of admissible evidence.
  15            6.    Intervenor-Defendant objects to the Interrogatories to the extent that they
  16 are vagueand ambiguous and do not include adequate.definition, specificity,
                                                                                        or limiting
  17        •factors..
  18              7.        Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 19         the term "'PERSON," The definition is vague, ambiguous, and overbroad as used in these
 20        Interrogatories.
                  Subject to and without waiving the foregoing objections, and incorporating them
 22        by reference into each of the responses provided below, Intervenor-Defendant hereby
 23        responds as. follows:
 24        INTERROGATORY NO. |:
 25                From January     1, 1995 until the present, have any limit(s) been in place, as the
 26        result of any lawsuit, on the number of people thatcan be housed in
                                                                                         any jail operated
 27        and/or maintained by YOU? If so:
28                          (a)    State the name, date and case number of every case which resulted ir

            INTERVENOR-DEFENDANT HUMBOLDT COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          any such limit(s).
      2   RESPONSE TO INTERROGATORY NO. 1:
      3             In addition to the General. Objections stated above, Intervenor-Defendant objects
      4   to this   interrogatory   on   the grounds that it is vague, ambiguous and overbroad; to the
      5   extent  that it seeks information not relevant to this litigation nor reasonably calculated to
      6   lead to the discovery of admissible evidence.
      7           Without waiving and subject to the objections, Intervenor•Defendant responds: In
  8       re   Inmates of Humboldt County         Jail' No. 81205 and (• onsolidated Cases, Partial Ruling
      9   on   Writ of Habeas Corpus filed May            16, 1988.
 10       INTEP,•ROGATORY NO. 2!
                    In any instance, from January 1, 1995 until the present, in which any limit(s) have
 12       been in place on the number of people that can be housed in any jail operated and/or
 13       maintained by YOU, what mechanisms were used to comply with those limits?
 14                        (a)      Identify all DOCUMENTS which relate to YOUR answerD
 15                        (b)      Identify all PERSONS whom YOU believe or suspect have
 16       information to support YOUR           answer.

 17       RESPONSE TO INTERROGATORY NO, 2:
 18                 In addition to.the General Objections stated above, Intervenor-Defendant objects
 19       to•this interrogatory on•the grounds that it is vague, ambiguous and overbroad; to the
 20       extent that it seeks information      not relevant to this litigation nor reasonably calculated to
          lead to the discovery of admissible evidence.
 22                 Without waiving and subject to the objections, Intervenor-Defendant responds:
 23        Compliance with Special Matter Order re:. Early Release of Inmates Who Complete
 24        Certain Educational or Substance Abuse Classes at the Humboldt County Correctional
 25       Facility; utilization of Penal code section 4024.1 authorizing accelerated release tO
 26        County jail inmates due to inmate. Count exceeding bed capacity; Jail Booking Matrix
 27           (a) Special Matter Order re: Early Release of Inmates Who Complete Certain
 28               Educational or Substance Abuse Classes at the Humboldt County Correctional
                                                                -4-
          INTERVI3NOR,DEFENDANT HUMBOLDT COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF   INTERROGATORIES
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       1            Facility; Penal Code section 4024.1; Jail Booking Matrix
  2             (b) Captain Melinda Ciarabellini; CaptainEd Wilkinson; Jail Compliance Officer
      3             Karen Lovie; Deputy County Counsel Karen Roebuck
      4    •INTERROGATORY NO. 3:
      5         From January 1, 1995 until present; how many people have had their releases from
      6    any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
      7    on   the number of people that can be housed in that jail?
      8                  (a) Identify all DOCUMENTS which relate to YOUR answer.
      9                  (b) Identify all PERSONS whom YOU believe or suspect have
  10       information to support YOUR answer.
  11       RESPONSE TO INTERROGATORY NO. 3:
  12                 In addition to the General Objections stated above, Intervenor-Defendant objects
  13       to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
  14       extent that it seeks information not relevant to this litigation nor reasonably calculated to
  15       lead to the discovery of admissible evidence.
  16               Without waiving and subject to the objections, Intervenor-Defendant responds:
 17                263 inmates released pursuant to Penal Code section 4024.1 from 2004 to August
 18        2007.
 19             (a) Electronic data
 20             (b) Jail Compliance Officer Karen Lovie
 21        INTERROGATORY NO. 4:
 22                  What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
 23        January I, 1995 until present, in any county in which YOU operate and/or maintain a
 24        jail?
 25                      (a) For each such program, describe the mission and/or purpose of the
 26                     program.
27                         (b)     For each such program, identify what criteria are used to decide who
28         may enter the program.
                                                           -5-
           INTERVENOR-DEFENDANT HUMBOLDT COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1                   (c)     Identify all DOCUMENTS which relate to YOUR answer.
       2                   (d)     Identify all PERSONS whom YOU believe or suspect have
      -3    information to support YOUR answer.
       4   RESPONSE TO INTERROGATORY NO. 4:
       5           In addition to the General Objections stated above, Intervenor-Defendant objects
       6   to this interrogatory on the grounds     that it is vague, ambiguous and overbroad; to the
       7   extent that it seeks   information not relevant to this litigation nor reasonably calculated to
       8   lead to the discovery of admissible evidence.
      9            Without waiving and subject to the objections, Intervenor-Defendant responds:
  10           (a) County Parole      A voluntary program authorized by the Penal Code beginning
  11               with Section 3074 whereby qualified inmates may be considered for release from
  12              jail to serve the remainder of their sentence in home detention, which may include
  13               electronic monitoring, drug testing and other conditions imposed by the County
 14               Board of Parole Commissioners and under the supervision of the County
 15               Probation Department.
 16                        School or Work Ft•.rlough A voluntary program authorized under Penal
 17               Code section 1208 whereby persons committed to the Humboldt County
 18               Correctional Facility maintain employment or education by serving theirsentence
 19               on Home Detention, which may include electronic monitoring and drug testing,
                                                                                                  as
 20               required under the terms and supervision of the County Probation Department.
 21                       SWAP (Sheriff's Work Alternative Program) A voluntary work release
 22               program authorized by Penal Code section 4024.2 whereby qualified persons
23                committed to the Humboldt County Correctional Facility remain out of custody
24                and report on a scheduled basis to a work crew or fixedwork site. These
                                                                                           persons
25                may perform manual labor under the supervision of a correctional officer or other
26                authorized supervisor.
27            (b) See response to (a) above.
28            (c) Humboldt County Correctional Facility Policy and Procedure M-011 Alternatives
                                                           -6-
           INTgRVENOR•DEFENDANT HUMBOLDT COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET
                                                                                               OF INTERROGATORIES
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         1            to Incarceration
         2        (d) Correctional Supervisor Robert Peterson; Captain Meiinda Ciarabellini; Captain
         3            Ed Wilkinson
         4    DATED:       April 11, 2008                    Respectfully submitted,
                                                             .JONES & MAYER
         5
         6
     7                                                               Ivy Mrff•a'U
      .8
                                                                     Attorrie3Cs for Sheriff, Probation, Police
                                                                     Chief, •d Corrections Intervenor-
                                                                     Defendants
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             INTERVENOR-D•FISNDANT.HUMBOLDT COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
